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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES OF AMERICA             )
                                     )
      v.                             ) Criminal Action No. 21-153 (RBW)
                                     )
DANIEL GOODWYN,                      )
                                     )
                  Defendant.         )
____________________________________ )

                                             ORDER

       In accordance with the oral rulings issued by the Court at the motion hearing held on

July 30, 2021, via teleconference, it is hereby

       ORDERED that, on or before August 6, 2021, the defendant shall submit to the Court

and to Pretrial Services documentation from his treating physician (1) of any diagnoses that were

alleged at the July 30, 2021 hearing, and (2) addressing whether the wearing of a mask while in

contact with other individuals exacerbates any diagnosed condition of the defendant. It is further

       ORDERED that Pretrial Services may conduct a mental health assessment of the

defendant. It is further

       ORDERED that the results of the mental health assessment shall be provided to the

Court as soon as possible.

       SO ORDERED this 30th day of July, 2021.




                                                     REGGIE B. WALTON
                                                     United States District Court Judge
